Use Tab key to move from field to field on this form.
NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                         Criminal Number 21-CR-125-BAH


BRIAN MCCREARY
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:              (Please check one)


 9       CJA                9■     RETAINED          9     FEDERAL PUBLIC DEFENDER



                                                                (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:


                                          RICHARD D. HEIDEMAN #377462
                                                        (Attorney & Bar ID Number)
                                          HEIDEMAN NUDELMAN & KALIK, PC
                                                               (Firm Name)
                                          5335 Wisconsin Ave., Suite 440
                                                             (Street Address)

                                          Washington, DC 20015
                                           (City)               (State)          (Zip)
                                          202-463-1818
                                                           (Telephone Number)
